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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------ x
In re:                                                       : Chapter 11
                                                             :
Rentech WP U.S. Inc., et al.,1                               : Case No. 17-12958 (CSS)
                                                             :
                    Debtors.                                 : (Jointly Administered)
------------------------------------------------------------ x

       SCHEDULE OF ASSETS AND LIABILITIES FOR RENTECH WP U.S. INC.




1
         The Debtors, together with the last four digits of each Debtor’s U.S. federal tax identification number, are
Rentech WP U.S. Inc. (7863) and Rentech, Inc. (7421). The address for the Debtors is 10880 Wilshire Boulevard,
Suite 1101, Los Angeles, CA 90024.
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    ------------------------------------------------------------ x
    In re:                                                       :   Chapter 11
                                                                 :
                                       1
    Rentech WP U.S. Inc., et al.,                                :   Case No. 17-12958 (CSS)
                                                                 :
                        Debtors.                                 :   (Jointly Administered)
                                                                 :
    ------------------------------------------------------------ x

                GLOBAL NOTES, METHODOLOGY AND SPECIFIC
            DISCLOSURES REGARDING THE DEBTORS’ SCHEDULES OF
      ASSETS AND LIABILITIES, SCHEDULES OF EXECUTORY CONTRACTS AND
          UNEXPIRED LEASES AND STATEMENTS OF FINANCIAL AFFAIRS

On December 19, 2017 (the “Petition Date”), the above-captioned debtors and debtors in
possession (together, the “Debtors”) filed voluntary petitions for relief under chapter 11 of title 11
of the United States Code (the “Bankruptcy Code”). Unless otherwise indicated, these Global
Notes, Methodology and Specific Disclosures Regarding the Debtors’ Schedules of Assets and
Liabilities, Schedules of Executory Contracts and Unexpired Leases and Statements of Financial
Affairs (the “Global Notes”) apply to the Schedules of Assets and Liabilities (collectively, the
“Schedules”) and the Statements of Financial Affairs (the “Statements,” and together with the
Schedules, the “Schedules and Statements”) filed by the Debtors, with the assistance of their
advisors, pursuant to the requirements of Bankruptcy Code Section 521 and Rule 1007 of the
Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) with the United States
Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”).

The Schedules and Statements do not purport to represent financial statements prepared in
accordance with Generally Accepted Accounting Principles in the United States (“GAAP”) nor
are they intended to fully reconcile to the financial statements prepared by the Debtors.
Additionally, the Schedules and Statements contain unaudited information that is subject to further
review and potential adjustment, and reflect the Debtors’ reasonable commercial efforts to report
the assets and liabilities of each Debtor on an unconsolidated basis. These Global Notes are
incorporated by reference in, and comprise an integral part of, the Debtors’ Schedules and
Statements, and should be referred to and reviewed in connection with any review of the Schedules
and Statements.

Paul Summers, Chief Financial Officer of Rentech WP U.S. Inc. and Rentech, Inc., has signed
each of the Schedules and Statements. Mr. Summers is an officer or authorized signatory for each
of the Debtors. In reviewing and signing the Schedules and Statements, Mr. Summers has relied
upon the efforts, statements and representations of various personnel employed by the Debtors.

1
         The Debtors, together with the last four digits of each Debtor’s U.S. federal tax identification number, are
Rentech WP U.S. Inc. (7863) and Rentech, Inc. (7421). The address for the Debtors is 10880 Wilshire Boulevard,
Suite 1101, Los Angeles, CA 90024.



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Mr. Summers has not (and could not reasonably have) personally verified the accuracy of each
statement and representation contained in the Schedules and Statements, including statements and
representations concerning amounts owed to creditors.
In preparing the Schedules and Statements, the Debtors relied upon financial data derived from
their books and records that was available at the time of such preparation. Although the Debtors
have made commercially reasonable efforts to ensure the accuracy and completeness of such
financial information, inadvertent errors or omissions, as well as the discovery of conflicting,
revised or subsequent information, may cause a material change to the Schedules and Statements.
Accordingly, the Debtors reserve all of their rights to amend, supplement or otherwise modify the
Schedules and Statements as is necessary and appropriate. Notwithstanding the foregoing, the
Debtors shall not be required to update the Schedules and Statements.

                          Global Notes and Overview of Methodology

Reservation of Rights. Nothing contained in the Schedules and Statements shall constitute a
waiver of the Debtors’ rights or an admission with respect to their chapter 11 cases, including any
issues involving substantive consolidation, equitable subordination, defenses and/or causes of
action arising under the provisions of Chapter 5 of the Bankruptcy Code and any other relevant
bankruptcy or non-bankruptcy laws.

Description of Cases and “As of” Information Date. On the Petition Date, the Debtors filed
voluntary petitions for relief under Chapter 11 of the Bankruptcy Code. The Debtors are operating
their businesses and managing their properties as debtors in possession pursuant to Bankruptcy
Code Sections 1107(a) and 1108. No trustee or examiner has been requested in these chapter 11
cases, and the United States Trustee, as of the date hereof, for the District of Delaware has not
appointed an official committee of unsecured creditors. All financial information relating to the
Debtors in the Schedules and Statements and these Global Notes is provided as of the Petition Date
unless otherwise indicated in the Schedules and Statements.

Causes of Action. Despite their reasonable efforts to identify all known assets, the Debtors may
not have set forth all of their causes of action or potential causes of action against third parties as
assets in the Schedules and Statements, including, but not limited to, any avoidance actions arising
under Chapter 5 of the Bankruptcy Code and any actions under other relevant non-bankruptcy laws
to recover assets. The Debtors reserve all of their rights with respect to any claims, causes of
action or avoidance actions they may have and neither these Global Notes nor the Schedules and
Statements shall be deemed a waiver of any such claim, cause of action or avoidance action or in
any way prejudice or impair the assertion of such claims.

Solvency. Given, among other things, the uncertainty surrounding the valuation, nature,
collection and ownership of certain assets and the valuation and nature of certain liabilities, to the
extent that the Debtors show more assets than liabilities, this is not an admission that the Debtors
were solvent as of the Petition Date or at any time prior the Petition Date.

Claims Designations. Any failure to designate a claim on the Debtors’ Schedules and Statements
as “disputed,” “contingent” or “unliquidated” does not constitute an admission by the Debtors that
such amount is not “disputed,” “contingent” or “unliquidated.” The Debtors reserve the right to
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dispute any claim reflected on their Schedules or Statements on any grounds, including, but not
limited to, amount, liability or classification, or to otherwise subsequently designate such claims
as “disputed,” “contingent” or “unliquidated.” Moreover, listing a claim does not constitute an
admission of liability by the Debtors.

Net Book Value of Assets. Unless otherwise indicated, the Debtors’ assets and liabilities are
shown on the basis of their net book value as of the Petition Date rather than current market values.
As a result, amounts ultimately realized may vary from net book value and such variance may be
material. Exceptions to this include cash in financial accounts. Attempts to obtain current market
valuations of assets could be prohibitively expensive, unduly burdensome and an inefficient use
of estate assets and, as a result, have not been attempted in connection with the preparation of the
Schedules and Statements. Additionally, because the book values of assets such as intellectual
property may materially differ from their fair market values, they may be listed as undetermined
amounts as of the Petition Date.

Property Rights – Generally. Exclusion of certain property from the Schedules and Statements
shall not be construed as an admission that such property rights have been abandoned, terminated,
assigned, expired by their terms or otherwise transferred pursuant to a sale, acquisition or other
transaction. Conversely, inclusion of certain property in the Schedules and Statements shall not
be construed as an admission that such property rights have not been abandoned, terminated,
assigned, expired by their terms or otherwise transferred pursuant to a sale, acquisition or other
transaction.

In addition, although the Debtors have made diligent efforts to attribute property to each applicable
Debtor, it is possible that property attributed to a particular Debtor may, in fact, be owned by
another. Accordingly, the Debtors reserve all of their rights with respect to the legal status of any
and all such property rights.
Personal Property – Leased. In the ordinary course of their businesses, the Debtors may lease
furniture, fixtures, and office equipment from certain third-party lessors for use in the daily
operation of their business. Nothing in the Schedules and Statements is or shall be construed as
an admission regarding any determination as to the legal status of any lease (including whether
any lease is a true lease or a financing arrangement), and the Debtors reserve all of their rights with
respect to any such issue.
Recharacterization. Notwithstanding the Debtors’ reasonable best efforts to properly
characterize, classify, categorize or designate certain claims, assets, executory contracts, unexpired
leases and other items reported in the Schedules and Statements, the Debtors may nevertheless
have improperly characterized, classified, categorized, designated or omitted certain items.
Accordingly, the Debtors reserve all of their rights to recharacterize, reclassify, recategorize,
redesignate, add or delete items reported in the Schedules and Statements at a later time as is
necessary and appropriate, as additional information becomes available.
Liabilities. The Debtors allocated liabilities between the prepetition and postpetition periods
based on the information and research conducted in connection with the preparation of the
Schedules and Statements. As additional information becomes available and further research is
conducted, the allocation of liabilities between the prepetition and postpetition periods may

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change. Accordingly, the Debtors reserve all of their rights to amend, supplement or otherwise
modify the Schedules and Statements as is necessary and appropriate.
The liabilities listed on the Schedules do not reflect any analysis of claims under Bankruptcy Code
Section 503(b)(9). Accordingly, the Debtors reserve all of their rights to dispute or challenge the
validity of any asserted claims under Section 503(b)(9) or the characterization of the structure of
any such transaction or any document or instrument related to any creditor’s claim.
Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

Insiders. For purposes of the Schedules and Statements, the Debtors define “insiders” to include
the following: (a) directors; (b) officers; (c) other members of the Debtors’ senior management
team; (d) non-Debtor shareholders who hold in excess of 5% of the voting shares of any of the
Debtors; and (e) relatives and related parties to persons or entities that comprise (a) – (d).

Persons listed as “insiders” have been included for informational purposes only. The Debtors do
not take any position with respect to: (a) such person’s influence over the control of the Debtors;
(b) the management responsibilities or functions of such individual; (c) the decision-making or
corporate authority of such individual; or (d) whether such individual could successfully argue that
he or she is not an “insider” under applicable law, including the federal securities laws, or with
respect to any theories of liability or for any other purpose.

Classifications. Listing (i) a claim on (a) Schedule D as “secured,” (b) Schedule E as “priority,”
or (c) Schedule F as “unsecured,” or (ii) a contract or lease on Schedule G as “executory” or
“unexpired,” does not constitute an admission by the Debtors of the legal rights of the claimant,
the executory nature of the contract or a waiver of the Debtors’ rights to object to, challenge the
validity of, or recharacterize or reclassify such claims or contracts or to setoff of such claims.

Summary of Significant Reporting Policies. The following is a summary of significant reporting
policies:
    1. Undetermined Amounts. The description of an amount as “unknown,” “TBD” or
       “undetermined” is not intended to reflect upon the materiality of such amount.
    2. Totals. All totals that are included in the Schedules and Statements represent totals of all
       known amounts. To the extent there are unknown or undetermined amounts, the actual
       total may be different than the listed total.
    3. Paid Claims. The Debtors have authority to pay certain outstanding prepetition liabilities
       pursuant to various Bankruptcy Court orders. Accordingly, certain outstanding liabilities
       may have been reduced by postpetition payments made on account of prepetition liabilities.
       To the extent that any prepetition obligations have been satisfied postpetition, such
       obligations are not included in the Debtors’ Schedules. To the extent the Debtors pay any
       of the liabilities listed in the Schedules pursuant to any orders entered by the Bankruptcy
       Court, the Debtors reserve all of their rights to amend or supplement the Schedules or take
       other action as is necessary and appropriate to avoid over-payment of or duplicate
       payments for any such liabilities.
    4. Liens. Property and equipment listed in the Schedules are presented without consideration
       of any liens that may attach (or have attached) to such property and equipment.
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Unliquidated Values as Zero. Certain unknown and/or unliquidated values are reflected as $0.00.

Setoffs. The Debtors incur certain offsets and other similar rights during the ordinary course of
business. Offsets in the ordinary course can result from various items, including, without
limitation, intercompany transactions, pricing discrepancies, returns, warranties, and other
disputes between the Debtors and their suppliers. These offsets and other similar rights are
consistent with the ordinary course of business in the Debtors’ industry and are not tracked
separately. Therefore, although such offsets and other similar rights may have been accounted for
when certain amounts were included in the Schedules, offsets are not independently accounted for,
and as such, are excluded from the Schedules.

Global Notes Control. In the event that the Schedules and Statements differ from the foregoing
Global Notes, the Global Notes shall control.

                     Specific Disclosures with Respect to the Debtors’ Schedules

Schedules, Generally. Attachment or exhibit pages for certain schedules are included in the sum
of “continuation pages” as may be required.

Schedule A/B3 and 4. Cash values held in financial accounts are listed on Schedule A/B3 and 4
as of the Petition Date. For the avoidance of doubt, Schedule B2 does not list accounts held in the
names of any non-debtor affiliates.
Schedule A/B11. The Debtors’ reported accounts receivable includes amounts that may be
uncollectible. The Debtors are unable to determine with complete certainty what amounts will
actually be collected.

Schedule A/B15. Ownership interests in subsidiaries have been listed in Schedule A/B15 as an
undetermined amount on account of the fact that the fair market value of such ownership interests
is dependent on numerous variables and factors and may differ significantly from the net book
value.

Schedule A/B60 and 61. The value of patents, trademarks, and other intellectual property is listed
on Schedule A/B, Part 10 as an unknown or undetermined amount on account of the fact that the
fair market value of such ownership is dependent on numerous variables and factors and may
significantly differ from the net book value.

Schedule A/B72. Because the Debtors intend to liquidate, certain unused net operating losses
have not been included in Schedule A/B72.

Schedule D – Creditors Holding Secured Claims. Reference to the applicable loan agreements
and related documents is necessary for a complete description of the collateral and the nature,
extent and priority of liens purported to be granted or perfected in any specific asset of a secured
creditor listed on Schedule D. Nothing in the Global Notes or the Schedules and Statements shall
be deemed a modification or interpretation of the terms of such agreements. Real property lessors,
utility companies and other parties that may hold security deposits have not been listed on Schedule
D. The Debtors reserve all of their rights to amend Schedule D to the extent that the Debtors

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determine that any claims associated with such agreements should be reported on Schedule D.
Nothing herein shall be construed as an admission by the Debtors of the legal rights of the claimant
or a waiver of the Debtors’ rights to recharacterize or reclassify such claim.

Moreover, the Debtors have not included on Schedule D parties that may believe their claims are
secured through setoff rights or inchoate statutory lien rights.

Schedule E – Creditors Holding Priority Claims. The Debtors have requested that the
Bankruptcy Court authorize the Debtors, in their discretion, to pay certain liabilities that may be
entitled to priority under the applicable provisions of the Bankruptcy Code. For example, on the
Petition Date, the Debtors filed their Motion of Debtors for Entry of Interim and Final Orders (A)
Authorizing Payment of Certain Prepetition Workforce Claims, Including Wages, Salaries, and
Other Compensation, (B) Authorizing Payment of Certain Employee Benefits and Confirming
Right to Continue Employee Benefits on Postpetition Basis, (C) Authorizing Payment of
Reimbursement to Employees for Expenses Incurred Prepetition, (D) Authorizing Payment of
Withholding and Payroll Related Taxes, (E) Authorizing Payment of Workers’ Compensation
Obligations, and (F) Authorizing Payment of Prepetition Claims Owing to Administrators and
Third Party Providers (the “Employee Wage and Benefit Motion”) requesting an order of the
Bankruptcy Court authorizing the Debtors to pay or honor certain prepetition obligations with
respect to employee wages, salaries and other compensation, reimbursable employee expenses and
similar benefits (the “Employee Wage and Benefit Order”). As a result of the Employee Wage
and Benefit Order, the Debtors believe that any employee claims for prepetition amounts related
to ongoing payroll and benefits, whether allowable as a priority or nonpriority claim, will be
satisfied, and such amounts are not listed in the Debtors’ Schedules.
In addition, on the Petition Date, the Debtors filed their Motion of Debtors for Order Under 11
U.S.C. §§ 105(a), 363 (b), 506(a), 507(a)(8), and 541 and Fed. R. Bankr. P. 6003 Authorizing
Payment of Prepetition Taxes and Fees (the “Tax Motion”) requesting and Order of the
Bankruptcy Court authoring the Debtors to honor and pay certain prepetition taxes and fees (the
“Tax Order”). As a result of the Tax Order, the Debtors believe that certain claims on account of
such taxes will be satisfied, and such amounts are not listed on the Debtors’ Schedules.
Schedule F – Creditors Holding Unsecured Nonpriority Claims. The claims listed in Schedule
F arose or were incurred on various dates. In certain instances, the date on which a claim arose is
an open issue of fact. Although reasonable efforts have been made to identify the date of
incurrence of each claim, determination of each date upon which each claim in Schedule F was
incurred or arose would be unduly burdensome and cost prohibitive and, therefore, the Debtors
have not listed a date for each claim listed on Schedule F.

The Debtors have used reasonable commercial efforts to report all general unsecured claims
against the Debtors on Schedule F based upon the Debtors’ existing books and records as of the
Petition Date. The claims of individual creditors for, among other things, products, goods or
services are listed as either the lower of the amounts invoiced by such creditor or the amounts
entered on the Debtors’ books and records and may not reflect credits or allowances due from such
creditors to the applicable Debtor. The Debtors reserve all of their rights with respect to any such
credits and allowances including the right to assert objections and/or setoffs with respect to same.


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Schedule F does not include certain deferred charges, deferred liabilities, accruals or general
reserves. Such amounts are, however, reflected on the Debtors’ books and records as required in
accordance with GAAP. Such accruals are general estimates of liabilities and do not represent
specific claims as of the Petition Date.
The Debtors have made every effort to include as contingent, unliquidated or disputed the claim
of any vendor not included on the Debtors’ open accounts payable that is associated with an
account that has an accrual or receipt not invoiced.
Schedule G – Executory Contracts. Although reasonable efforts have been made to ensure the
accuracy of Schedule G, inadvertent errors, omissions or overinclusion may have occurred. The
Debtors hereby reserve all of their rights to dispute the validity, status or enforceability of any
contract or other agreement set forth in Schedule G that may have expired or may have been
modified, amended and supplemented from time to time by various amendments, restatements,
waivers, estoppel certificates, letters and other documents, instruments and agreements which may
not be listed therein. Also, except for inadvertent errors and omissions or as otherwise indicated
in these Global Notes, Schedule G contains all of the Debtor’s executory contracts and agreements
as of the Petition Date. Schedule G will be supplemented to include additional executory contracts
and agreements in advance of the Debtors’ claims bar date. It is possible that some of the contracts
or agreements listed on Schedule G have expired or otherwise terminated pursuant to their terms
prior to or since the commencement of the Chapter 11 Case.

In some cases, the same entity may appear multiple times in Schedule G. This multiple listing is
to reflect distinct agreements between the Debtor and such supplier or provider.

Certain of the leases and contracts listed on Schedule G may contain certain renewal options,
guarantees of payment, options to purchase, rights of first refusal and other miscellaneous rights.
Such rights, powers, duties and obligations are not set forth separately on Schedule G. In addition,
the Debtors may have entered into various other types of agreements in the ordinary course of their
business, such as easements, right of way, subordination, nondisturbance and attornment
agreements, supplemental agreements, amendments/letter agreements and title agreements. Such
documents are also not set forth in Schedule G. Certain confidentiality and non-disclosure
agreements may also not be listed on Schedule G.

The Debtors reserve all of their rights, claims and causes of action with respect to the contracts
and leases on Schedule G, including the right to dispute or challenge the characterization of the
structure of any transaction or any document or instrument related to a creditor’s claim.
The Debtors reserve all of their rights with respect to any agreements that are not included on
Schedule G. Certain of the executory agreements may not have been memorialized and could be
subject to dispute. Executory agreements that are oral in nature have not been included on
Schedule G.
Omission of a contract or lease from Schedule G does not constitute an admission that such omitted
contract or lease is not an executory contract or unexpired lease. The Debtors’ rights under the
Bankruptcy Code with respect to any such omitted contracts or leases are not impaired by the
omission.


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                     Specific Disclosures with Respect to the Debtors’ Statements
Statement 3. Statement 3 includes all disbursements or other transfers made by the Debtors except
for (i) those ordinary course payroll-related payments and associated withholdings and deductions
and (ii) certain payments to insiders, which are included in Statement 4. The amounts listed in
Statement 3 reflect the Debtors’ disbursements netted against any check level detail; thus, to the
extent a disbursement was made to pay for multiple invoices, only one entry has been listed on
Statement 3. All disbursements listed on Statement 3 are made through the Debtors’ cash
management system.
Statement 11. Several of the professionals listed on Statement 11 were providing services to the
Debtors beyond debt consolidation, relief under the Bankruptcy Code or preparation of a petition
in bankruptcy, and as such the fees listed may include amounts not associated with the bankruptcy
process.
Statement 26d. The Debtors have provided financial statements and other financial information
to prospective purchasers and/or investors pursuant to non-disclosure agreements executed in the
prepetition process. Statement 26d does not list the entities that received financial information
pursuant to such agreements, most (if not all) of which contain confidentiality agreements.
Rentech, Inc. is a public company, and, therefore, parties other than those listed on Statement 26d
may have relied on its publicly filed financial statements.

Statement 30. For the avoidance of doubt, payments made to affiliate entities are not included in
Statement 30. The Debtors have included a comprehensive response to Statement 30 in Statement
4. See above for a description of those parties deemed to be “insiders” for purposes of the Debtors’
response to Statement Question 4 and 30.




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 Fill in this information to identify the case:

 Debtor name            Rentech WP U.S. Inc.

 United States Bankruptcy Court for the:                       DISTRICT OF DELAWARE

 Case number (if known)               17-12958
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           249,317.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           249,317.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       19,905,483.39


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$                    0.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         19,905,483.39




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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                                  Case 17-12958-CSS                     Doc 63      Filed 12/29/17       Page 11 of 19
 Fill in this information to identify the case:

 Debtor name         Rentech WP U.S. Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         17-12958
                                                                                                                             Check if this is an
                                                                                                                             amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                            12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                           Current value of
                                                                                                                             debtor's interest

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

                                                                                                     Valuation method used    Current value of
                                                                                                     for current value        debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership


           15.1.     Fulghum Fibres Inc.                                            100       %      Market                               Unknown



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 1
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 Debtor         Rentech WP U.S. Inc.                                                         Case number (If known) 17-12958
                Name




            15.2.    New England Wood Pellet, LLC                                   100       %      Market                        Unknown




            15.3.    RTK (Luxembourg) WP S.A.R.L                                    100       %      Market                        Unknown



 16.        Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
            Describe:


 17.        Total of Part 4.                                                                                                   Unknown
            Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 2
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 Debtor         Rentech WP U.S. Inc.                                                         Case number (If known) 17-12958
                Name


        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                               Current value of
                                                                                                                               debtor's interest


 71.       Notes receivable
           Description (include name of obligor)

 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

           State tax refund (PA)                                                               Tax year 2016                               $3,601.00



           State tax refund (NY)                                                               Tax year 2016                            $245,716.00



 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                         $249,317.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 3
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 Debtor          Rentech WP U.S. Inc.                                                                                Case number (If known) 17-12958
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                              Unknown

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                $249,317.00

 91. Total. Add lines 80 through 90 for each column                                                             $249,317.00          + 91b.                       $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $249,317.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 4
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                                     Case 17-12958-CSS                      Doc 63           Filed 12/29/17         Page 15 of 19
 Fill in this information to identify the case:

 Debtor name         Rentech WP U.S. Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)             17-12958
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
     Credit Suisse AG as
 2.1                                                  Describe debtor's property that is subject to a lien             $19,905,483.39                   Unknown
     administrative agent to
                                                      Guaranty Claim
     GSO Capital Partners
       Creditor's Name

       345 PARK AVENUE
                                                      Describe the lien
       New York, NY 10154
       Creditor's mailing address
                                                      GSO Credit Agreement
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       4/9/2014                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.




 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.        $19,905,483.39

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 1
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                                   Case 17-12958-CSS                      Doc 63           Filed 12/29/17                Page 16 of 19
 Fill in this information to identify the case:

 Debtor name         Rentech WP U.S. Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)           17-12958
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

     1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
     3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
        out and attach the Additional Page of Part 2.
 3.1    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.
                                                                                Contingent
                                                                                Unliquidated
           Date or dates debt was incurred
                                                                                Disputed
           Last 4 digits of account number
                                                                             Basis for the claim:

                                                                             Is the claim subject to offset?       No     Yes


 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                     related creditor (if any) listed?               account number, if
                                                                                                                                                     any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                            0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                            0.00

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                              0.00




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 1
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                                  Case 17-12958-CSS                  Doc 63     Filed 12/29/17             Page 17 of 19
 Fill in this information to identify the case:

 Debtor name         Rentech WP U.S. Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         17-12958
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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                                  Case 17-12958-CSS                  Doc 63     Filed 12/29/17          Page 18 of 19
 Fill in this information to identify the case:

 Debtor name         Rentech WP U.S. Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         17-12958
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Rentech, Inc.                     10880 Wilshire Blvd                               Credit Suisse AG as                D
                                               Suite 1101                                        administrative agent               E/F
                                               Los Angeles, CA 90024                             to GSO Capital                     G
                                                                                                 Partners




Official Form 206H                                                         Schedule H: Your Codebtors                                         Page 1 of 1
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                             Case 17-12958-CSS                   Doc 63            Filed 12/29/17        Page 19 of 19




Fill in this information to identify the case:

Debtor name         Rentech WP U.S. Inc.

United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

Case number (if known)    17-12958
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       December 29, 2017               X /s/ Paul Summers
                                                           Signature of individual signing on behalf of debtor

                                                            Paul Summers
                                                            Printed name

                                                            Chief Financial Officer
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
